Case 4:21-cv-00766-ALM

CAS101

CASE # CV44809

DOCKET BOOK REPORT

COURT: 62ND JUDICIAL DISTRICT

CAUSE: INJ/DAM-OTHER INJ/DAM

STYLE: CATHY WILLIAMS

NAME

WILLIAMS , CATHY
14204 SEMINOLE STREET

BALCH SPRINGS, TX 75180

NAME

WALMART, INC.
1750 S. BROADWAY STREET

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PAGE 1

09/29/2021

VS WALMART, INC. A/K/A WALMART
STORES TEXAS D/B/A WALMART

SUPERCENT NO.

PLAINTIFF

DEFENDANT

SULPHUR SPRINGS, TX 75482

TRANSACTIONS FOR ALL PARTIES

 

 

ATTORNEY

MATTHEWS , STEWART
2106 W. ENNIS AVE
SUITE B

ENNIS, TX 75119
972-398-6666

ATTORNEY

 

MERRITT,EDWARD L
PO DRAWER 2072
LONGVIEW TX 75606
903-757-4001

/ f¢ THRU f/f /

 

 

08/30/2021 PLAINTIFF'S ORIGINAL PETITION/CC i 7
WILLIAMS , CATHY
08/30/2021 CHARGES ASSESSED BY EFILE 317.00-
WILLIAMS , CATHY EFILE ENVELOPE ID:56773226
08/30/2021 PAYMENT RECEIVED THRU EFILE 317.00
WILLIAMS , CATHY EFILE SUBMITTER ID: MATTHEWS,STEWART COURT ID: HOP
08/31/2021 CHARGES ASSESSED BY EFILE 8.00-
WILLIAMS , CATHY EFILE ENVELOPE ID:56800719
08/31/2021 PAYMENT RECEIVED THRU EFILE 8.00
WILLIAMS , CATHY EFPILE SUBMITTER ID: MATTHEWS, STEWART COURT ID: HOP
08/31/2021 OUT OF COUNTY CITATION ISSUED TO BE SERVED BY I 1
WILLIAMS , CATHY PPS /WALMART, INC/MM
08/31/2021 EMAIL REGARDING OUT OF COUNTY CITATION I 1
WILLIAMS , CATHY ISSUANCE /WALMART /MM
08/31/2021 REQUEST FOR CITATION/MM I 2
WILLIAMS , CATHY
09/27/2021 DEFENDANT'S ORIGINAL ANSWER/MM I 4
WALMART, INC.
itl iitty,,
age ATTEST: _
CHERYL FULCHER, DISTRICT CLERK
HOPKINS COUNTY, TEXAS
BY OO edisers | Ve Counc DEPUTY
DATE: 9. | 91 | 2024 ‘
stnct Clark
UY rx

EXHIBIT

tabbies’
Case 4:21-cv-00766-ALM Document 1-2

2), CT Corporation

TO: Kim Lundy- Email
Walmart Inc.
702 SW 8TH ST

Filed 10/01/21 Page 2 of 15 PagelD#: 7

Service of Process
Transmittal
09/03/2021

CT Log Number 540188567

BENTONVILLE, AR 72716-6209

RE: Process Served in Texas

FOR: WAL-MART, INC. (Former Name) (Domestic State: DE)
WALMART INC. (True Name)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:

DOCUMENT(S) SERVED:

COURT/AGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:

DATE AND HOUR OF SERVICE:
JURISDICTION SERVED :

APPEARANCE OR ANSWER DUE:

ATTORNEY(S) / SENDER(S):

ACTION ITEMS:

REGISTERED AGENT ADDRESS:

Re: Williams Cathy // To: WALMART INC.
Name discrepancy noted.

Citation, Original Petition and Jury Demand, Certificate

62nd Judicial District Court Hopkins County, TX
Case # CV44809

Personal Injury - Slip/Trip and Fall - 07/21/2021, Store #417, at 1750 S. Broadway
Street, Sulphur Springs, Texas 75482

C T Corporation System, Dallas, TX
By Process Server on 09/03/2021 at 10:46
Texas

On or before 10:00 a.m. of the Monday next after the expiration of 20 days after
the date of service hereof

Stewart D. Matthews

2106 W. Ennis Avenue, Suite B
Ennis, TX 75119

972-398-6666

CT has retained the current log, Retain Date: 09/03/2021, Expected Purge Date:
09/08/2021

Image SOP

C T Corporation System
1999 Bryan Street
Suite 900

Dallas, TX 75201

877-564-7529
MajorAccountTeam2@wolterskluwer.com

The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained

therein.

Page 1 of 1/EC
Case 4:21-cv-00766-ALM Document 1-2 Filed 10/01/21 Page 3of15 PageID#: 8

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PROCESS SERVER DELIVERY DETAILS

 

 

 

 

‘Date: Fri, Sep 3, 2021
Server Name: Drop Service
Entity Served WALMART INC.
Case Number CV44809
Jurisdiction ™

 

 

 

I
 

Case 4:21-cv-00766-ALM Document 1-2 Filed 10/01/21 Page 4of15 PagelD#: 9

CAUSE NO. CV44809

THE STATE OF TEXAS: ATTORNEY FOR PLAINTIIFI'/DEFENDANT
CHERYL FULCHER - DISTRICT CLERK STEWART MATTHEWS

282 ROSEMONT ST, SUITE 2 2106 W. ENNIS AVE

SULPHUR SPRINGS, TX 75482 SUITE B

ENNIS, TX 75119

CITATION FOR PERSONAL SERVICE

TO: |©WALMART, INC.
REGISTERED AGENT: CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201-3136

DEFENDANT:

You are hereby commanded to appear before the 62ND JUDICIAL DISTRICT Court of Hopkins County, Texas, to be
held at the courthouse of said County in the City of Sulphur Springs, Hopkins County, Texas, by filing a written answer to
the petition of plaintiff's on or before 10 o’clock A.M. of the Monday next after the expiration of 20 days after the date of

service hereof a copy of which accompanies this citation, in Cause No. CV44809
CATHY WILLIAMS
VS

WALMART, INC. A/K/A WALMART
STORES TEXAS D/B/A WALMART
SUPERCENT NO. 417

Filed in said Court on 30th day of August, 2021.

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If you or your attorney do
not file a written answer with the clerk who issued this citation by 10:00 A.M. on Wie Monday next following
the expiration of twenty days after you were served this citation and petition, a default judgment may be taken
against you.

In addition to filing a written answer with the clerk, you may be required to make initial disclosures to the other parties of
this suit. These disclosures generally must be made no latcr than 30 days after you file your answer with the clerk. Find
out more at TexasLawHelp.org.

WITNESS, CHERYL FULCHER, DISTRICT CLERK OF THE DISTRICT COURT OF HOPKINS COUNTY, TEXAS.

i itltiitiyyy,,
Issued and given under my hand and seal of said Court at stom Bae ; oi day of August A.D., 2021,

‘-.

ec CHERYL FULCHER - DISTRICT CLERK

1B: =HOPKINS COUNTY, TEXAS

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Nn,

te f ee

AMULET,

   

3]

 

 

 

 

 

Rs sia “Ss
OFFICER/AUT DAPI SON RETURN
Came to hand at o’clock _.M., onthe __ day of .
Executed at (address) in County at o’clock __.M. on the
___ day of ; , by delivering to the within named , in

person, a true copy of this citation together with the accompanying copy of the petition, having first attached
such copy of such petition to such copy of citation and cndorsed on such copy of citation the date of delivery.

TOTAL SERVICE FEE $

 

Sheriff/Const/PPS
County, Texas

 

 
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Filed 8/30/2021 11:37 AM
Cheryl Fulcher

District Clerk

Hopkins County, Texas

Cindy Caviness

CV44809
CAUSE NO.

CATHY WILLIAMS § IN THE DISTRICT COURT

§

§

§ 62nd JUDICIAL DISTRICT
WALMART, INC, A/K/A §
WALMART STORES TEXAS §
D/B/A WALMART SUPERCENT NO. 417 § HOPKINS COUNTY, TEXAS

PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND
TO THE HONORABLE JUDGE OF SAID COURT:
COMES NOW, CATHY WILLIAMS, Plaintiff, by and through her attorneys of record, Stewart
Matthews with S.D. MATTHEWS & ASSOCIATES, P.L.L.C., and files this Original Petition and Jury
Demand complaining of Defendant WALMART, INC., and for her cause of action would respecttully

show the Court and jury as follows:

I.
Discovery Control Plan

Pursuant to Rule 190 of the Texas Rules of Civil Procedure, Plaintiff intends to conduct

discovery under Level III Control Plan.

Ii.
Parties

1. Plaintiff Cathy Williams is a resident of Balch Springs, Dallas County, Texas. Plaintiff's last
three digits of her drover’s license are 007 and last three of her social security number are 056.
2. Defendant WALMART is a company engaged in the restaurant business within the state of
Texas. Service of process may be made on this defendant by serving its registered agent, CT
CORPORATION SYSTEM, located at 1999 Bryan Street, Suite 900, Dallas, Texas 75201-

3136.

Plaintiff's Original Petition |
Case 4:21-cv-00766-ALM Document 1-2 Filed 10/01/21 Page 6 of 15 PageID#: 11

Til.
Jurisdiction and Venue

3, The amount in controversy exceeds the minimum jurisdictional limits of this Court.
4. Venue is proper in Hopkins County, Texas pursuant to section 15.002 of the Texas Civil
Practice and Remedies Code. Upon proper service of Defendants, this Court has jurisdiction

and venue is proper.

IV.
TEX. R. CIV. P. 47

Aw

As a general matter, PlaintifPs counsel believes that the amount of damages to be awarded to
a clasmant 1s strictly within the province of the jury. ‘lhe damages sought by Plaintitts in this
case won’t be measured by a specific dollar amount as much as they are based on the collective
wisdom of a jury. Indeed, the jury will be rerninded that it is solely up to them to award
intangible damages for all applicable non-economic damages. The jury will also be reminded
of the value that we as free Americans place on human life and our right to be free from pain
and suffering and to pursue happiness however we see fit.

6. Despite all of the foregoing, due to the new rules put in place in 2013, and pursuant to Texas
Rule of Civil Procedure 47(c)(5), Plaintiff hereby states that Plaintiff is seeking monetary relief
of $1,000,000.

7. Plaintiff is required to indicate a maximum award sought. At this time (without the advent of

discovery and testimony of the parties, witnesses and experts, with the understanding Plaintiff

reserves the right to amend this amount pursuant to Texas Rules of Civil Procedure and the
evidence, and with the understanding Plaintiffs defer to the jury-as the sole determiners of the
amount to be awarded be that amount less or more than indicated herein) the maximum amount

sought for the injuries and damages the Plaintiffs have had to endure is $1,000,000.

Plaintiff's Original Petition 2
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Facts

8. Plaintiff CATHY WILLIAMS was a customer of Defendant WALMART, located at 1750 S.
Broadway Street, Sulphur Springs, Texas 75482 when, on July 21, 2021, Plaintiff was
checking out at the self-check-out area.

9. As she was leaving, she slipped and violently fell on some form of liquid which was in a the
highly used and traveled area.

10. As a result of the incident, Plaintiff Cathy Williams suffered significant injuries requiring
multiple surgeries, including but not limited to fractures of her hip and elbow.

11, Plaintiff Cathy Williams has incurred substantial medical expenses as a result of her injuries.
12. Plaintiff Cathy Williams injuries include extreme physical pain and suffering, and
tremendous mental and emotional anguish, all of which will continue well into the future, if
not for the remainder of Plaintiff's life.

13. At the time of the incident, Defendant WALMART owned the store and premises located at
1750 S. Broadway Street, Sulphur Springs, Texas, where the incident occurred.

VI.
Causes of Action

14. Negligence of Defendant WALMART:
a. Failing to maintain premises in asafe and reasonable manner;
b. Failing to properly monitor premises for potentially dangerous/hazardous
conditions existing on the premises;
c. Failing to package produce properly; and
d. Failing to provide sufficient staff to monitor highly traveled and areas
utilized by customers.

15. Gross Negligence of Defendant WALMART

Plaintiff's Original Petition 3
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a. The aforesaid negligent acts and omissions, when viewed
objectively, involved an extreme degree of risk considering the
probability and magnitude of potential harm to Plaintiff;

b. Defendant was subjectively aware of such risk;

c. Defendant proceeded with conscious disregard for the rights,
safety, and/or welfare of Plaintiff;

16. Defendant is liable for punitive or exemplary damages resulting from its grossly negligent
conduct because it:

i. Authorized the doing and the manner of the acts and omissions in
question;

ii. Recklessly employed personnel who were overworked, understaffed or
unfit, incompetent, and/or unqualified to perform the duties and tasks
assigned ta them;

iit. Employed personnel in managerial positions who were acting within
the course and scope of their employment at the time the negligent acts
and/or omissions occurred and failed to stop or prevent such acts
and/or omissions; and/or

iv. Through its officers, managers, supervisors, or higher-level
employees, ratified or approved the negligent acts and/or omissions in
question.

17. For these reasons Plaintiff contends that Defendant actions or inactions rise to the level of
gross negligence as defined by Chapter 41 of the Texas Civil Practices and Remedies Code.

VI.
Damages for Plaintiff

18. As a direct and proximate cause of the negligence and gross negligence described
herein, Plaintiff was caused to suffer severe injuries and to incur the following

damages:

a) Reasonable medical care and expenses in the past. These expenses were
incurred by Plaintiff for the necessary care and treatment of the injuries
resulting from the accident complained of herein and such charges are
reasonable and were usual and customary charges for such services in Hopkins
County, Texas;

b) Reasonable and necessary medical care expenses which will in all reasonable

Plaintiff's Original Petition 4
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probability be incurred in the future;
c) Physical pain and suffering in the past;
d) Physical pain and suffering in the future;
e) Mental anguish in the past; and
f) Mental anguish in the future.
As a result of the grossly negligent conduct set forth above, Plaintiff is entitled to recover
exemplary and punitive damages, in addition to her actual damages.

VIII.
Jury Demand

19, Plaintiff demands a trial by jury.

IX.
Prayer

WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that the Defendant be cited to
appear and answer herein, and upon final a trial that said Defendant be found liable for the following
damages and that judgment be entered in the Plaintiff's favor awarding the following: judgment against
Defendant, in a sum in excess of the minimum jurisdictional limits of this Court; actual damages in an
amount within the jurisdictional limits of the Court; Exemplary and punitive damages within the
jurisdictional limits of the Court; Pre-judgment interest at the maximum rate allowed by the law; Post
judgment interest at the maximum rate allowed by the law; Costs of Court; For past and future reasonable
and necessary medical expenses; For past, present and future physical pain and mental anguish: such other

and further relief to which the Plaintiff may be entitled.

Plaintiff's Original Petition 5
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Plaintiff's Original Petition

Respectfully submitted,

/s/ Stewart D. Matthews
Stewart D. Matthews
State Bar No. 24039042
Attorney@accidentlawyer. legal
2106 W. Ennis Avenue
Suite B
Ennis, Texas 75119
(972) 398-6666 — Phone
(214) 206-9991 — Fax

Attorney for Plaintiff
Case 4:21-cv-00766-ALM Document 1-2 Filed 10/01/21 Page 11o0f15 PagelID#: 16

Automated Certificate of eService
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Stewart Matthews on behalf of Stewart Matthews
Bar No. 24039042

productslawyer@aol.com

Envelope ID: 56773226

Status as of 8/30/2021 2:32 PM CST

Case Contacts

 

 

 

 

Name BarNumber | Email TimestampSubmitted | Status
Marissa DVavra marissa@accidentlawyer.legal } 8/30/2021 11:37:43 AM | SENT
Stewart DMatthews attorney@accidentlawyer.legal | 8/30/2021 11:37:43 AM | SENT
Jessica Trojacek jessica@accidentlawyer.legal | 8/30/2021 11:37:43 AM | SENT

 

 

 

 

 

 

 
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CV44809 Filed 9/27/2021 3:01 PM
Cheryl Fulcher

District Clerk

Hopkins County, Texas

Madison McCarrier

CAUSE NO. CV44809

CATHY WILLIAMS, § IN THE DISTRICT COURT
§
Plaintiff, §
§
vs. §
§
§ 62ND JUDICIAL DISTRICT
WALMART, INC. A/K/A WALMART §
STORES TEXAS D/B/A WALMART §
SUPERCENT NO. 417, §
§
Defendant, § HOPKINS COUNTY, TEXAS

DEFENDANT’S ORIGINAL ANSWER
TO THE HONORABLE JUDGE OF SAID COURT:
Defendant, Walmart, Inc., files this Original Answer to Plaintiff's Original Petition and
Jury Demand (the “Petition”) of Plaintiff Cathy Williams, and in support thereof, respectfully
shows the Court the following:
I. General Denial

Pursuant to Texas Rule of Civil Procedure 92, Defendant generally denies, all and singular,
each and every material allegation contained in Plaintiff's Petition; Defendant says that same are
not true in whole or in part and demands strict proof thereof as required by the Constitution and
Laws of the State of Texas.

Il. Affirmative Defenses

By way of further defense, Defendant would show that the incident was caused in whole or

in part by the negligent acts or omissions of Plaintiff and/or a third person who is or is not

currently a party to this action.

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DEFENDANT’S ANSWER TO ORIGINAL PETITION AND JURY DEMAND
Case 4:21-cv-00766-ALM Document 1-2 Filed 10/01/21 Page 13 0f 15 PagelID#: 18

Pleading further, and in the alternative, if such be necessary, and subject to the foregoing
pleas, and without waiving same, Defendant would state that in the event Defendant is held
legally responsible to Plaintiff, any such responsibility being expressly denied by Defendant,
then Defendant hereby invokes the provisions of Chapter 33 Comparative/Proportionate
Responsibility of the Tex. Civ. Prac. & Rem. Code, which provisions would entitle Defendant,
among other things, to reduction for the negligence, liability, responsibility or other conduct
alleged which is attributable to any other party or settling person or third party. Alternatively,
Defendant would invoke the provisions of Chapter 32 and Chapter 33 of the Tex. Civ. Prac. &
Rem. Code as that Code affects the rights of contribution and indemnity between parties to
litigation in the State of Texas, and the provisions thereunder whereby Defendant is entitled to a
credit for any settlement paid or to be paid to Plaintiff.

To the extent that Plaintiff's medical expenses exceed the amount actually paid on Plaintiffs
behalf to Plaintiffs medical providers, Defendant asserts the statutory defense set forth in
Section 41.0105 of the Texas Civil Practice and Remedies Code. Thus, recovery of Plaintiff's
medical or health care expenses are limited to the amount actually paid or incurred by or on
behalf of Plaintiff.

To the extent that any health care provider has written off its charges for medical care for
Plaintiff and/or paid charges for medical care in connection with the injuries underlying this suit,
and in the unlikely event that Plaintiff obtains a final judgment against Defendant, Defendant is
entitled to a credit and/or offset for the total amount of such write-offs and/or expenditures
incurred and paid by others and accruing to Plaintiff pursuant to Texas Civil Practice &

Remedies Code Section 41.0105.

2
DEFENDANT’S ANSWER TO ORIGINAL PETITION AND JURY DEMAND
Case 4:21-cv-00766-ALM Document 1-2 Filed 10/01/21 Page 14 0f15 PagelID#: 19

Tl.

Defendant specially reserves the right to plead further prior to the time of trial of this

lawsuit.

IV. Prayer

WHEREFORE, PREMISES CONSIDERED, Defendant prays that Plaintiff take nothing,

that Defendant recover its costs of suit, and for such other and further relief to which Defendant

may show itself justly entitled, both special and general, at law or in equity.

By:

Respectfully submitted,

/s/_ Edward L. Merritt
Edward L. Merritt
Tex. Bar No. 13967400
Jessica M. LaRue
Tex. Bar No. 24076019
HARBOUR, SMITH, HARRIS &
MERRITT, P.C.
222 N Fredonia Street
P.O. Drawer 2072
Longview, TX 75606
Telephone: 903-757-4001
Facsimile: 903-753-5123
Attorneys for Defendant

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the above instrument was electronically filed with
the Court’s e-filing system and a copy served thereby on all counsel of record this 27th day of

September, 2021.

/s/_ Edward L. Merritt
EDWARD L. MERRITT

DEFENDANT’S ANSWER TO ORIGINAL PETITION AND JURY DEMAND
Case 4:21-cv-00766-ALM Document 1-2 Filed 10/01/21 Page 15 of 15 PagelID #: 20

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Linda Boynton on behalf of Edward Merritt
Bar No. 13967400
Iboynton@harbourlaw.com

Envelope ID: 57633458 .

Status as of 9/27/2021 3:10 PM CST

Case Contacts

 

 

 

Name BarNumber | Email TimestampSubmitted | Status
Stewart DMatthews attorney@accidentlawyer.legal | 9/27/2021 3:01:30 PM | SENT
Jessica Trojacek jessica@accidentlawyer.legal | 9/27/2021 3:01:30 PM | SENT

 

 

 

 

 

 

 

Associated Case Party: INC.WALMART

 

 

 

 

Name BarNumber | Email TimestampSubmitted | Status
Linda RBoynton Iboynton@harbourlaw.com | 9/27/2021 3:01:30 PM | SENT
Edward L.Merritt emerritt@harbourlaw.com | 9/27/2021 3:01:30 PM | SENT
Jessica M.LaRue jessica@harbourlaw.com | 9/27/2021 3:01:30 PM _ | SENT

 

 

 

 

 

 

 
